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   1 MIRA HASHMALL (State Bar No. 216842)
     mhashmall@millerbarondess.com
   2
     JASON H. TOKORO (State Bar No. 252345)
   3 CASEY B. SYPEK (State Bar No. 291214)
     MILLER BARONDESS, LLP
   4
     1999 Avenue of the Stars, Suite 1000
   5 Los Angeles, California 90067
     Tel.: (310) 552-4400 | Fax: (310) 552-8400
   6
   7 Attorneys for Defendants
     COUNTY OF LOS ANGELES, LOS
   8 ANGELES COUNTY FIRE
     DEPARTMENT, JOEY CRUZ,
   9 RAFAEL MEJIA, MICHAEL
     RUSSELL, RAUL VERSALES, ARLIN
  10 KAHAN, and TONY IMBRENDA
  11 [Additional counsel continued on next page]
  12
                              UNITED STATES DISTRICT COURT
  13
                  CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
  14
  15 VANESSA BRYANT,                             Case No. 2:20-cv-09582-JFW-E
  16                                             (Consolidated with 2:20-cv-10844-
             Plaintiff,                          JFW-E)
  17              vs.                            DEFENDANTS’ BRIEF IN
  18 COUNTY OF LOS ANGELES, et al.,              SUPPORT OF EXCLUDING
                                                 ARGUMENT OR EVIDENCE OF
  19                                             PURPORTED DESTRUCTION OR
             Defendants.                         CONCEALMENT OF EVIDENCE
  20                                             IN A FEDERAL INVESTIGATION

  21                                             [Filed Concurrently With Declaration of
       CHRISTOPHER L. CHESTER,                   Jason Tokoro]
  22
                        PLAINTIFF,
                                                 Trial Date: August 10, 2022
  23
                  vs.
                                                 Assigned to the Hon. John F. Walter
  24                                             and Magistrate Judge Charles F. Eick
  25 COUNTY OF LOS ANGELES, et al.,
  26         Defendants.

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           DEFENDANTS’ BRIEF IN SUPPORT OF EXCLUDING ARGUMENT OR EVIDENCE OF PURPORTED
                DESTRUCTION OR CONCEALMENT OF EVIDENCE IN A FEDERAL INVESTIGATION
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   1 [Additional counsel, continued from previous page]
   2 JONATHAN C. McCAVERTY (State Bar No. 210922)
     Principal Deputy County Counsel
   3
     jmccaverty@counsel.lacounty.gov
   4 OFFICE OF THE COUNTY COUNSEL
     General Litigation Division
   5
     500 West Temple Street, Suite 468
   6 Los Angeles, California 90012
     Tel.: (213) 974-1828 | Fax: (213) 626-7446
   7
   8 Attorneys for Defendant Los Angeles County Sheriff’s Department
   9
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   1 I.           INTRODUCTION
   2              Twice now in this trial, Plaintiffs have interjected an allegation that
   3 Defendants somehow destroyed or concealed evidence in “a federal investigation.”
   4 The first instance occurred on August 12, 2022, when Mr. Bercovici volunteered the
   5 following testimony:
   6              “Q. Including seizing their personal property. That’s your opinion,
                  sir?
   7
   8              A. I would ask for voluntary compliance. But these are -- these
                  photographs are evidence in a federal investigation. So I would take
   9              a pause. I would advise their counsel, which they should have with
  10              them, tell them how we’re going to proceed, and I would seek advice
                  from the U.S. Attorney, since this is a federal investigation.”
  11              (Declaration of Jason Tokoro (“Tokoro Decl.”), Ex. A at 598:12-19
  12              (emphasis added).)
  13              The second incident occurred on August 16, 2022, when Plaintiff’s counsel
  14 led Captain Matthew Vander Horck to answer questions about supposed destruction
  15 or concealment of “evidence in a federal investigation”:
  16              “Q. I want to focus on the third concern that you raised, which was the
                  concern that there might be some evidence. Were you concerned that
  17
                  your deputies were being ordered to destroy evidence in a federal
  18              investigation?
  19              A. I worried about that.
                  ....
  20              Q. But if they go up and take pictures on their phones, they might have
  21              created a bunch of evidence that the feds might want; right?
                  A. Could be.
  22              Q. And by the “feds,” I mean the NTSB, the agency that’s
  23              investigating the crash; right?
                  A. Yes.
  24              Q And potentially, if there was -- and there isn’t -- but if there was a
  25              criminal component, the FBI; right?
                  A Yes.
  26              Q. And what you were concerned about is your deputies had perhaps
  27              inadvertently created a bunch of evidence that they should turn over
                  to the feds in toto, all of it, so they wouldn’t be destroying or
  28              concealing evidence in a federal investigation; right?
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   1          A. Yes.” (Tokoro Decl., Ex. B at 1233:8-1234:18 (emphasis added).)
   2          This second incident demonstrates that Mr. Bercovici’s testimony was not a
   3 stray remark. Plaintiffs apparently intend to argue and solicit speculative testimony
   4 that Defendants somehow destroyed or concealed evidence in a federal
   5 investigation, including a non-existent “criminal” investigation. This allegation is
   6 irrelevant, baseless, and highly inflammatory. Defendants respectfully ask the Court
   7 to preclude Plaintiffs from arguing or introducing evidence of supposed
   8 concealment or destruction of evidence in a federal investigation.
   9 II.      THE COURT SHOULD EXCLUDE EVIDENCE OR ARGUMENT
  10          ABOUT PURPORTED DESTRUCTION OR CONCEALMENT OF
  11          EVIDENCE IN A FEDERAL INVESTIGATION
  12          A.    Plaintiffs’ Allegation Of Destruction Or Concealment Of Evidence
  13                In A Federal Investigation Is Irrelevant And Unfounded
  14          The only claims in this trial are Plaintiffs’ Monell claims against the County
  15 and its Sheriff’s Department (“LASD”) and Fire Department (“LACFD”) for alleged
  16 improper sharing of photos of Plaintiffs’ deceased family members. Plaintiffs’
  17 suggestion that Defendants concealed or destroyed evidence in a federal
  18 investigation by deleting crash site photos has no relevance whatsoever to Plaintiffs’
  19 Monell claims. This allegation has no “tendency to make” it “more or less
  20 probable” that LASD or LACFD violated Plaintiffs’ rights. Fed. R. Evid. 401(a).
  21          Nor have Plaintiffs submitted any competent evidence for their suggestion
  22 that Defendants destroyed or concealed evidence in a federal investigation.
  23 Witnesses from LASD and LACFD have testified that NTSB and other federal
  24 agencies were present the day of the crash. But no testimony or other evidence on
  25 the course, scope, and progress of any investigations by the NTSB, FAA, or FBI has
  26 been or will be presented to the jury. Plaintiffs have not called any witness from the
  27 NTSB, FAA, FBI, or the U.S. Attorney’s Office to testify. Nor did Plaintiffs depose
  28 anyone from these agencies in discovery or subpoena their records.
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   1         Plaintiffs are not permitted to argue from “evidence not in the record.”
   2 United States v. Sanchez-Soto, 617 F. App’x 695, 697 (9th Cir. 2015) (reversing
   3 judgment where prosecutor made statement in closing argument “not supported by
   4 any evidence”); see also Walden v. Illinois Cent. Gulf R.R., 975 F.2d 361, 365 (7th
   5 Cir. 1992) (district court did not abuse its discretion in precluding counsel from
   6 making an argument at closing when he had “presented no direct evidence to
   7 support the argument”). Nor are Plaintiffs permitted to solicit speculative opinions
   8 about purported destruction or concealment of evidence in a federal investigation.
   9 See Fed. R. Evid. 602 (“A witness may testify to a matter only if evidence is
  10 introduced sufficient to support a finding that the witness has personal knowledge of
  11 the matter.”). Plaintiffs’ allegation that Defendants destroyed or concealed evidence
  12 in a federal investigation is baseless and has no bearing on Plaintiffs’ Monell claims.
  13         B.     Plaintiffs’ Allegation Of Destruction Or Concealment Of Evidence
  14                In A Federal Investigation Is Prejudicial And Misleading
  15         Even if Plaintiffs’ allegation that Defendants destroyed evidence in a federal
  16 investigation were supported and had some minimal probative value (neither of
  17 which is the case), the allegation would still be inadmissible under Rule 403. Even
  18 relevant evidence may be excluded if its probative value is substantially outweighed
  19 by the risk of undue prejudice, confusing the issues, misleading the jury, undue
  20 delay, wasting time, or needlessly presenting cumulative evidence. Fed. R. Evid.
  21 403; United States v. Hitt, 981 F.2d 422, 424 (9th Cir. 1992) (“Where the evidence
  22 is of very slight (if any) probative value, it’s an abuse of discretion to admit it if
  23 there’s even a modest likelihood of unfair prejudice or a small risk of misleading the
  24 jury.”); Old Chief v. United States, 519 U.S. 172, 180–92 (1997).
  25         It would be highly prejudicial and misleading for Plaintiffs to argue or submit
  26 speculative evidence that Defendants destroyed or concealed evidence in a federal
  27 investigation. Plaintiffs are not-so-subtly suggesting—without any competent
  28 evidence—that Defendants committed a crime. The charge of destruction or
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          DEFENDANTS’ BRIEF IN SUPPORT OF EXCLUDING ARGUMENT OR EVIDENCE OF PURPORTED
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   1 concealment of evidence in a federal investigation is highly inflammatory and likely
   2 to mislead the jury about what is at issue in this lawsuit. The danger of undue
   3 prejudice, misleading the jury, and confusing the issue far outweighs any probative
   4 value.
   5 III.         CONCLUSION
   6              Defendants respectfully ask the Court to preclude Plaintiffs from arguing or
   7 introducing purported evidence of supposed concealment or destruction of evidence
   8 in a federal investigation.
   9
  10 DATED: August 19, 2022                    MILLER BARONDESS, LLP
  11
  12
                                               By:         /s/ Mira Hashmall
  13
                                                       MIRA HASHMALL
  14                                                   Attorneys for Defendants
  15                                                   COUNTY OF LOS ANGELES, LOS
                                                       ANGELES COUNTY FIRE
  16                                                   DEPARTMENT, JOEY CRUZ,
  17                                                   RAFAEL MEJIA, MICHAEL
                                                       RUSSELL, RAUL VERSALES, ARLIN
  18                                                   KAHAN, and TONY IMBRENDA
  19
  20 DATED: August 19, 2022                    OFFICE OF COUNTY COUNSEL
  21
  22
                                               By:         /s/ Jonathan C. McCaverty
  23
                                                       JONATHAN C. McCAVERTY
  24                                                   Attorneys for Defendant
                                                       LOS ANGELES COUNTY SHERIFF’S
  25
                                                       DEPARTMENT
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           DEFENDANTS’ BRIEF IN SUPPORT OF EXCLUDING ARGUMENT OR EVIDENCE OF PURPORTED
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   1                                     FILER ATTESTATION
   2              I, Mira Hashmall, attest under Local Rule 5-4.3.4(a)(2)(i) that all other
   3 signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
   4 content and have authorized this filing.
   5
   6    Dated: August 19, 2022                                    /s/ Mira Hashmall
                                                                    Mira Hashmall
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                DESTRUCTION OR CONCEALMENT OF EVIDENCE IN A FEDERAL INVESTIGATION
